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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                   RICHMOND DIVISION




   CONTINENTAL CASUALTY COMPANY,
                                                     Case No. 3:19-CV-00661-MHL
          Plaintiff/Counterclaim Defendant,

   V.



   AWP USA INC. a/k/a AGA, Inc.,

          Defendant/Counterclaim Plaintiff.



               PLAINTIFF/COUNTERCLAIM DEFENDANT CONTINENTAL
                   CASUALTY COMPANY'S NOTICE OF OBJECTION

         Pursuant to Section C of the Court's Initial Pre-Trial Order (ECF No. 49),

  Plaintiff/Counterclaim Defendant Continental Casualty Company ("Continental") submits this

  Notice of Objection stating the nature of adiscovery dispute between Continental and

  Defendants AWP USA Inc., AGA Service Company d/b/a Allianz Global Assistance, and

  Jefferson Insurance Company (collectively, "Allianz") and citing the rules invoked.

         A.      Conferral Certification

         Pursuant to Paragraph 22 of the Court's Initial Pre-Trial Order, undersigned counsel

  certifies that the parties have made agood faith effort to resolve this discovery dispute without

  involving the Court but have been unable to do so. Copies of letters sent by Continental on

  September 2, 2021; September 27, 2021; and October 26, 2021 are attached as Exhibits A-C, and

  Allianz's letter of October 29, 2021 is attached as Exhibit D. The parties also had ameet and

  confer call on September 29, 2021 and have exchanged more informal meet and confer

  communications regarding these issues, including by phone and email.
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          B.      Nature of Dispute and Rules Invoked

          Continental served requests for the production of documents (the "Requests") on August

  13, 2021. Allianz served its objections on [date] and provided written responses to the Requests

  on September 13, 2021 but has yet to produce any documents or aprivilege log. On October 29,

  2021, Allianz stated that it will "begin" its "rolling production as soon as reasonably practicable"

  but did not commit to adate either on which it would begin its production or when its production

  would be complete. Allianz asserts that, despite serving its initial disclosures on November 18,

  2019 and receiving Continental's document requests on August 13, 2021, it has not yet obtained

  permission from some undisclosed person(s) or entity(ies) to produce certain responsive

  documents. Regardless of Allianz's inexplicable delay for this subset of responsive documents,

  there is no valid reason why it has not produced all other responsive documents and logged any

  as to which it asserts privilege. Allianz's delay of more than fifty-two days since the documents

  should have been produced prejudices Continental's ability to defend itself against Allianz's

  counterclaim and its ability to develop information timely during discovery. Allianz should be

  compelled to produce responsive documents immediately. Until Allianz produces documents

  and an adequate privilege log, Continental cannot fully identify all deficiencies in Allianz's

  response and its assertion of privilege or other protection, and reserves all rights in that regard.

  However, the deficiencies addressed in this Notice of Objection, at aminimum, are ripe for

  resolution at this time.

          Allianz's responses to the Requests are rife with improper boilerplate objections. See,

  e.g., Acosta v. Med. Stcjing cfAm., LLC, No. 2:18CV226, 2019 WL 6122016, at *4 (E.D. Va.

  Mar. 15, 2019) ("Generalized, boilerplate objections.    .   .   are highly disfavored in the Fourth

  Circuit.") (internal quotation marks and citations omitted); Spendlove v. RpidCourt, LLC, No.


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  3:18-CV-856, 2019 WL 7143664, at *3 (E.D. Va. Dec. 23, 2019) ("The principle problems with

  general objections are that (1) they reach so broadly that the requesting party cannot determine

  what is being answered or responded to and what is not; and (2) the generality obscures what the

  general objection is foreclosing from discovery.").

         In particular, Allianz objects to almost all of the Requests as "overly broad" and "unduly

  burdensome." "[M]erely stating that adiscovery request is "overbroad" or "unduly burdensome"

  will not suffice to state aproper objection." Deutsche Bank Nat'! Tr. Co. v. Fegely, No.

  3:16CV147, 2020 WL 201048, at *6 (E.D. Va. Jan. 13, 2020). Rather, "[i]n order to overcome

  the liberal construction afforded by the federal discovery rules, aparty objecting on the grounds

  that arequest is overly burdensome must submit affidavits or other evidence indicating with

  specificity the nature and extent of the burden." Id. The mere fact that adiscovery request would

  require significant time and expense to search for and produce responsive documents is an

  insufficient basis to object to such discovery. See id. Yet Allianz wholly fails to explain why

  each specific request to which they object is too broad or why searching for and producing or

  logging the responsive discovery would subject it to an undue burden.

         Similarly, Allianz objects to numerous Requests on the grounds that they seek

  "irrelevant" information. For purposes of the permissible scope of discovery, "[r]elevance is

  construed broadly to include '[a]ny matter that bears on, or that reasonably could lead to another

  matter that could bear on, any issue that is or may be in the case." Deutsche Bank Nat'! Tr. Co.,

  2020 WL 201048, at *6 (quoting Cppetta v. GCServs. Ltd. P'shp, 2008 WL 5377934, *7 (E.D.

  Va. 2008) (citation omitted)). "A request for discovery should be considered relevant if there is

  any possibility that the information sought may be relevant to the subject matter of the action."

  Id. (internal quotation marks and citation omitted). Moreover, as the party resisting discovery,



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  the burden is on Allianz "to show specifically how, despite the broad and liberal construction

  afforded the federal discovery rules, each interrogatory [or request for production] is not

  relevant." Cppetta v. GCServs. Ltd. P'shp, No. CIV. A. 3:08CV288, 2008 WL 5377934, at *2

  (E.D. Va. Dec. 24, 2008) (internal quotation marks and citations omitted); see also Spendlove v.

  RpidCourt, LLC, No. 3:18-CV-856,2019 WL 7143664, at *5 (E.D. Va. Dec. 23, 2019) ("When

  discovery sought appears relevant on its face, the party resisting the discovery has the burden to

  establish that the requested discovery does not come within the scope of relevance,     ...   or is of

  such marginal relevan[ce] that the potential harm occasioned by discovery would outweigh the

  ordinary presumption in favor of broad disclosure.") (internal quotation marks and citation

  omitted). Allianz may not unilaterally determine what information is relevant without providing

  sufficient information for Continental to evaluate this assertion. Yet, with rare exception, wholly

  fails to explain why the discovery sought is not relevant to any party's claims or defenses in this

  litigation.

          Allianz should not be entitled to withhold discovery on the basis of these boilerplate

  objections. Such objections are particularly inappropriate here as the Requests are narrowly

  tailored to seek easily identifiable documents that are clearly relevant to this coverage litigation,

  such as:


          •      Unredacted pleadings and unredacted briefing of any dispositive motions in the
                 Underlying Actions, to the extent not publicly available (Request Nos. 9& 10);

          •      Pleadings, orders, and written submissions to the arbitrator(s) in the Smith Action
                 (Request No. 11);

          •      Written discovery responses served by any party in the Underlying Actions
                 (Request No. 12);

          •      Expert reports served in the Underlying Actions (Request No. 13);


          •      Mediation statements in the Underlying Actions (Request No. 14); and
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         •       Settlement communications in the Underlying Actions and documents relating to
                 any actual or potential settlement of the Underlying Actions (Request Nos. 15 &
                 16).

         In addition, Allianz objects to producing numerous documents on the grounds that they

  are themselves confidential or that they contain confidential and/or proprietary business

  information that can only be disclosed pursuant to amutually agreeable protective order from

  this Court and permission from the appropriate underlying court/parties. These objections are

  improper because the Court has entered amutually agreed protective order to enable to the

  protection of just such material. See, e.g., Virmani v. Novant Health Inc., 259 F.3d 284, 288 n.4

  (4th Cir. 200 1) ("There is an important distinction between privilege and protection of

  documents, the former operating to shield the documents from production in the first instance,

  with the latter operating to preserve confidentiality when produced. An appropriate protective

  order can alleviate problems and concerns regarding both confidentiality and scope of the

  discovery material produced in aparticular case."); Cppenheimer v. Episccpal Communicators,

  Inc., No. 1:19-CV-00282-MR, 2020 WL 4732238, at *s.6 (W.D.N.C. Aug. 14, 2020) (finding

  objections on the basis that the information requested is confidential and/or contains confidential

  and proprietary business information without merit where protective order had been entered). To

  the extent that Allianz (or one of its partners) contends there are joint defense agreements,

  confidentiality agreements, and/or protective orders that prevent the production of otherwise

  responsive documents notwithstanding the protective order, Allianz must produce copies of those

  agreements/orders so that Continental can determine whether they in fact prohibit production. At

  an absolute minimum, Allianz must log any documents or information withheld or redacted on

  the basis of these objections to enable Continental to evaluate the propriety of these objections.




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         As aresult, Continental submits this Notice of Objection regarding Allianz's responses to

  the Requests:

       Continental's Requests                          Allianz's Objections/Responses

   Request No. 2: All documents       Objections: Defendants object to this request, as it is overly
   referenced in Exhibit B to         broad, unduly burdensome, and seeks confidential and/or
   Defendants' initial disclosures,   proprietary business information. The request
   including any amendment or         is overbroad and burdensome in that it asks Defendants to
   supplement thereto, in this        produce documents that are already in Continental's
   action.                            possession or are freely available in the public records. The
                                      request also seeks documents that contain confidential
                                      and/or proprietary business information that can only be
                                      disclosed pursuant to amutually agreeable protective order
                                      from this Court, permission from the appropriate underlying
                                      court/parties, and with appropriate redactions to protect
                                      commercially sensitive information that is irrelevant to the
                                      issues in this case. Defendants further object to the extent
                                      that certain documents contain information protected by the
                                      attorney-client privilege, work product doctrine, and joint
                                      defense privilege. 2

                                      2   Numerous requests propounded by Continental overlap with the
                                      categories of documents listed in Exhibit B of Defendants' initial
                                      disclosures. These include, but are not limited to, Request Nos. 4, 5, 6,
                                      7, 8, 17, and 18. While Defendants state specific objections to these
                                      requests herein, they hereby incorporate the objections to Request No. 2
                                      by reference.


                                      Response: Exhibit "B" to Defendants' Initial Disclosures
                                      lists 21 categories of documents, of which Continental is
                                      fully in possession of the documents in categories 1
                                      through 13, 20, and 21. Defendants maintain that
                                      Continental's request for these documents is overbroad and
                                      burdensome because these materials are already in
                                      Continental's possession or freely available in the public
                                      records, and Defendants accordingly will not re-produce
                                      these materials. As to the remaining categories of
                                      documents, Defendants answer as follows:
                                                Category 14 "All invoices for legal fees and costs
                                                               -




                                                provided by each of the airlines to AWP for
                                                reimbursement under their respective marketing
                                                agreements with AWP."
                                                    o Answer: Defendants will produce all such
                                                       invoices for all partners at issue in this action
                                                       (not just the airlines) subject to (1) the

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                                            partners' permission to produce those
                                            invoices, and (2) the necessary redactions to
                                            protect privileged information. Defendants
                                            are only in possession of these invoices
                                            pursuant to the joint defense privilege.
                                            Because Defendants cannot share these
                                            invoices without partner consent and are
                                            unable to waive the attorney-client privilege
                                            or work-product protection attached to these
                                            documents, Defendants can only produce
                                            them with the redactions necessary to protect
                                            against disclosure of attorney-client and
                                            work product information. Defendants intend
                                            to contact their partners to attempt to secure
                                            permission to produce the documents in
                                            question with appropriate redactions.
                                • Category 15 "All invoices for legal fees and costs
                                                 -




                                  incurred by AWP in connection with the putative
                                  class action lawsuits."
                                      o Answer: Defendants will produce all such
                                          invoices in connection with all Underlying
                                          Actions subject to (1) the partners'
                                          permission to produce those invoices, and (2)
                                          the necessary redactions to protect privileged
                                          information. Certain invoices within this
                                          category are protected by the joint defense
                                          privilege. Because Defendants cannot share
                                          these invoices without partner consent and
                                          are unable to waive the attorney-client
                                          privilege or work-product protection
                                          attached to these documents, Defendants can
                                          only produce them with the redactions
                                          necessary to protect against disclosure of
                                          attorney-client and work product
                                          information. Defendants intend to contact
                                          their partners to attempt to secure permission
                                          to produce the documents in question with
                                          appropriate redactions. Defendants will also
                                          produce the settlement agreements
                                          referenced in their answer to Request No. 16
                                          subject to their objections and answer to that
                                          request.
                                • Category 16 "All demands for indemnity from
                                                 -




                                  each of the airlines under their respective marketing
                                  agreements with AWP."


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                                             o Answer: Defendants will conduct a
                                                 reasonable search for and produce all such
                                                 documents for all partners at issue in this
                                                 action (not just the airlines).
                                       • Category 17 "Correspondence between AWP and
                                                        -




                                         the airlines regarding the airlines' indemnity
                                         demands under their respective marketing
                                         agreements with AWP."
                                             o Answer: Defendants will conduct a
                                                 reasonable search for and produce all such
                                                 documents for all partners at issue in this
                                                 action (not just the airlines) with the
                                                 exception of any correspondence protected
                                                 by the attorney-client privilege and/or work
                                                 product doctrine.
                                       • Category 18 "Correspondence between AWP and
                                                        -




                                         brokers or other third-parties regarding the
                                         marketing agreements and/or the airline indemnity
                                         demands."
                                             o Answer: Defendants will conduct a
                                                reasonable search for and produce all such
                                                documents for all partners at issue in this
                                                action (not just the airlines) with the
                                                exception of any correspondence protected
                                                by the attorney-client privilege and/or work
                                                product doctrine.
                                       • Category 19 "Correspondence between AWP and
                                                        -




                                           brokers or other third-parties regarding AWP '5
                                           claims for insurance coverage."
                                               o Answer: Defendants will conduct a
                                                  reasonable search for and produce all such
                                                  documents with the exception of any
                                                  correspondence protected by the attorney
                                                  client privilege and/or work product
                                                  doctrine.
   Request No. 3: All documents    Objections: Defendants object to this request as overly
   that you contend support your   broad and unduly burdensome to the extent it asks
   request for relief and for      Defendants to produce documents that are already in
   damages in this action.         Continental's possession or are freely available in the public
                                   records.

                                   Response: This request substantively seeks the same
                                   documents encompassed by Request No. 2. Defendants
                                   accordingly incorporate their answer to Request No. 2and
                                   will be producing documents on the same terms and subject
                                   to the same objections. Defendants also incorporate their
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                                      answer to Request No. 16 and will be producing documents
                                      on the same terms and subject to the same objections.
   Request No. 4: All                 Objection: Defendants object to this request, as it is overly
   communications between any         broad, unduly burdensome, seeks information that is
   of the Defendants and any other    irrelevant to the issues in this case, and is disproportional to
   entity or person regarding any     the needs of this case. Defendants further object to this
   request for indemnification in     request to the extent it seeks communications between the
   connection with any of the         Defendants and their attorneys, as these communications
   Underlying Actions.                are protected by the attorney-client privilege and/or the
                                      work product doctrine.

                                      Response: Consistent with Categories 17 and 18 of Exhibit
                                      "B" of the Defendants' Initial Disclosures, Defendants will
                                      conduct areasonable search for and produce (1)
                                      correspondence between Defendants and the partners at
                                      issue in this action regarding the partners' indemnity
                                      demands under their respective marketing agreements, and
                                      (2) correspondence between Defendants and their broker
                                      regarding the marketing agreements and/or the indemnity
                                      demands. Defendants will not produce any responsive
                                      communications with their attorneys, as these
                                      communications are protected by the attorney-client
                                      privilege and/or the work product doctrine. If this Request
                                      seeks documents beyond the scope of what Defendants will
                                      produce, Defendants incorporate and stand on their
                                      objections above, and will not produce documents
                                      responsive to this request absent aCourt order.
   Request No. 5: All agreements      Objection: Defendants object to this request, as it seeks
   that any entity or person          confidential and/or proprietary business information
   contends obligates any of the      between Defendants and their partners that can only be
   Defendants to indemnify any        disclosed pursuant to amutually agreeable protective order
   other entity or person with        from this Court, permission from the appropriate underlying
   respect to any of the Underlying   court/parties, and with appropriate redactions to protect
   Actions.                           commercially sensitive information that is irrelevant to the
                                      issues in this case.

                                      Response: The only responsive documents are the operative
                                      marketing agreements (and the relevant amendments)
                                      between Defendants and the partners at issue in this action.
                                      Defendants will produce these agreements subject to (1) the
                                      partners' permission to produce those agreements, and (2)
                                      with redactions necessary to protect commercially sensitive
                                      information that is irrelevant to the issues in this case.
                                      Defendants intend to contact their partners to attempt to
                                      secure permission to produce the documents in question.
                                      With respect to the redacted portions of the agreements,

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                                    Defendants incorporate and stand on their objections above,
                                    and will not produce these portions absent aCourt order.
   Request No. 6: All documents     Objection: Defendants object to this request, as it is overly
   relating to any request for      broad, unduly burdensome, seeks information that is
   indemnification made to any of   irrelevant to the issues in this case, and is disproportional to
   the Defendants in connection     the needs of this case. Defendants further object to this
   with the Underlying Actions.     request to the extent it seeks communications between the
                                    Defendants and their attorneys, as these communications
                                    are protected by the attorney-client privilege and/or the
                                    work product doctrine.

                                    Response: Consistent with Categories 17 and 18 of Exhibit
                                    "B" of the Defendants' Initial Disclosures, Defendants will
                                    conduct areasonable search for and produce (1)
                                    correspondence between Defendants and the partners at
                                    issue in this action regarding the partners' indemnity
                                    demands under their respective marketing agreements, and
                                    (2) correspondence between Defendants and their broker
                                    regarding the marketing agreements and/or the indemnity
                                    demands. Defendants will not produce any responsive
                                    communications with their attorneys, as these
                                    communications are protected by the attorney-client
                                    privilege and/or the work product doctrine. If this Request
                                    seeks documents beyond the scope of what Defendants will
                                    produce, Defendants incorporate and stand on their
                                    objections above, and will not produce documents
                                    responsive to this request absent aCourt order. Further, it
                                    appears that this Request and Request No. 4are
                                    substantively identical. If the Requests are different in
                                    scope, Defendants will require additional clarification.
   Request No. 7: All documents     Objection: Defendants object to this request, as it is overly
   relating to any payment by any   broad, unduly burdensome, seeks information that is
   Defendant on behalf of any       irrelevant to the issues in this case, and is disproportional to
   other entity or person in        the needs of this case. Defendants further object to this
   connection with the Underlying   request to the extent it seeks communications between the
   Actions.                         Defendants and their attorneys or documents with content
                                    protected by the attorney-client privilege and/or the work
                                    product doctrine.

                                    Response: Defendants will produce documents evidencing
                                    or otherwise attesting to Defendants' payment of defense
                                    and indemnity costs incurred by Defendants and their
                                    partners in connection with the Underlying Actions. If this
                                    Request seeks documents beyond the scope of what
                                    Defendants will produce, Defendants incorporate and stand


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                                        on their objections above, and will not produce documents
                                        responsive to this request absent aCourt order.
   Request No. 8: All documents         Objection: Defendants object to this request as overly broad
   relating to attorneys' fees and      and unduly burdensome to the extent that responsive
   costs for which Defendants seek      documents are already in Continental's possession.
   coverage in this action,             Defendants also object to this request to the extent it seeks
   including, but not limited to, all   documents protected by the attorney-client privilege, work
   invoices or other billing records    product doctrine, and joint defense privilege. The content of
   for fees and costs incurred and      invoices and billing records between AGA and its attorneys
   cancelled checks or other            is protected by the attorney-client privilege and the work
   evidence of payment (e.g., wire      product doctrine. Further, the content of invoices between
   transfer receipts).                  AGA and its attorneys or AGA' spartners and their
                                        attorneys and/or AGA are protected by the attorney-client
                                        privilege, work product doctrine, and joint defense
                                        privilege.

                                        Response: Consistent with Categories 14 and 15 of Exhibit
                                        "B" of the Defendants' Initial Disclosures, Defendants will
                                        produce all invoices for legal fees and costs (1) provided by
                                        Defendants' partners for reimbursement under their
                                        respective marketing agreements, and (2) incurred by
                                        Defendants in connection with the Underlying Actions.
                                        Additionally, as indicated in response to Request No. 7,
                                        Defendants will produce documents evidencing Defendants'
                                        payment of defense and indemnity costs incurred by
                                        Defendants and their partners in connection with the
                                        Underlying Actions. All invoices will be produced subject
                                        to (1) the partners' permission to produce those invoices,
                                        and (2) the necessary redactions to protect privileged
                                        information. Specifically, the content of invoices between
                                        Defendants and their attorneys is protected by the attorney-
                                        client privilege, the work product doctrine, and the joint
                                        defense privilege. Further, Defendants are only in
                                        possession of their partners' invoices pursuant to the joint
                                        defense privilege. Because Defendants cannot share these
                                        invoices without partner consent and are unable to waive
                                        the attorney-client privilege or work-product protection
                                        attached to these documents, Defendants can only produce
                                        them with the redactions necessary to protect against
                                        disclosure of attorney-client and work product information.
                                        Defendants intend to contact their partners to attempt to
                                        secure permission to produce the documents in question
                                        with appropriate redactions.

                                        If this Request seeks documents beyond the scope of what
                                        Defendants will produce, Defendants incorporate and stand

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                                     on their objections above, and will not produce documents
                                     responsive to this request absent aCourt order.
   Request No. 9: All unredacted     Objection: Defendants object to this request on the basis of
   pleadings in the Underlying       relevance, as the pleadings are freely available in the public
   Actions, to the extent not        record and the redacted portions of any pleadings solely
   publicly available,               contain commercially sensitive information that is irrelevant to
                                     the issues in this case. Defendants also object to this request as
                                     disproportional to the needs of this case, as the redacted
                                     information has no bearing on any claim or defense.
                                     Defendants further object to this request as seeking
                                     confidential and/or proprietary business information that
                                     can only be disclosed pursuant to amutually agreeable
                                     protective order from this Court and permission from the
                                     appropriate underlying court/parties. This request also seeks
                                     documents that are subject to aprotective order entered by
                                     another court and joint defense agreements such that they
                                     may not be freely disclosed by Defendants in this litigation.

                                     Response: Defendants incorporate and stand on their
                                     objections above, and will not produce documents
                                     responsive to this request absent aCourt order.
   Request No. 10: All unredacted    Objection: Defendants object to this request on the basis of
   briefing of any dispositive       relevance, as the briefings are freely available in the public
   motions in the Underlying         record and the redacted portions of any briefing solely
   Actions, to the extent not        contain commercially sensitive information that is irrelevant
   publicly available,               to the issues in this case. Defendants also object to this
                                     request as disproportional to the needs of this case, as the
                                     redacted information has no bearing on any claim or
                                     defense. Defendants further object to this request as seeking
                                     confidential and/or proprietary business information that
                                     can only be disclosed pursuant to amutually agreeable
                                     protective order from this Court and permission from the
                                     appropriate underlying court/parties. This this request also
                                     seeks documents that are subject to aprotective order
                                     entered by another court and joint defense agreements such
                                     that they may not be freely disclosed by Defendants in this
                                     litigation. Defendants also object to this request as vague, as
                                     it is unclear what is being sought that is separate or different
                                     from Request No. 9.

                                     Response: Defendants incorporate and stand on their
                                     objections above, and will not produce documents
                                     responsive to this request absent aCourt order.
   Request No. 11: All pleadings,    Objection: Defendants object to this request, as it is overly
   orders, and written submissions   broad, unduly burdensome, seeks information that is
   to the arbitrator(s) in the       irrelevant to the issues in this case, and is disproportional to

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   Smith Action.                    the needs of this case. Defendants also object to this request
                                    to the extent the requested documents or their content are
                                    protected by the attorney-client privilege, work product
                                    doctrine, joint defense privilege, and ajoint defense
                                    agreement. Further, the arbitration proceeding at issue is
                                    confidential such that these materials cannot be freely
                                    disclosed by Defendants in this litigation.

                                    Response: Defendants have already produced to Continental
                                    the operative First Amended Demand for Arbitration in the
                                    Smith Action (attached to Defendants' Counterclaim as
                                    Exhibit "L"). The documents sought by this Request have
                                    been submitted in aconfidential arbitration proceeding to
                                    which Defendants are not aparty, and these documents may
                                    not be produced without the consent of the underlying
                                    parties. Defendants are not in possession of all the requested
                                    documents and do not intend to seek permission from the
                                    underlying parties to produce them. Defendants incorporate
                                    and stand on their objections above, and will not produce
                                    documents responsive to this request absent aCourt order.
   Request No. 12: All written      Objection: Defendants object to this request, as it is overly
   discovery responses served in    broad, unduly burdensome, seeks information that is
   any of the Underlying Actions.   irrelevant to the issues in this case, and is disproportional to
                                    the needs of this case. Defendants also object to this request
                                    to the extent the requested responses contain confidential
                                    and/or proprietary business information that can only be
                                    disclosed pursuant to amutually agreeable protective order
                                    from this Court, permission from the appropriate underlying
                                    court/parties, and with appropriate redactions to protect
                                    commercially sensitive information that is irrelevant to the
                                    issues in this case. Responsive documents, to the extent they
                                    are in Defendants' possession, are also subject to joint
                                    defense agreements. Defendants further object to this
                                    request as vague, as it is unclear whether Continental is
                                    requesting the written discovery responses served by
                                    Defendants in the Underlying Actions or all written
                                    discovery served by all parties in the Underlying Actions. If
                                    the latter, Defendants also object to this request as overly
                                    broad, unduly burdensome, and seeking documents that are
                                    irrelevant and have no bearing on whether Continental owes
                                    coverage under the terms of the Policies in dispute.

                                    Response: Defendants will produce the written discovery
                                    responses served by Defendants in the Underlying Actions
                                    with appropriate redactions to protect commercially
                                    sensitive information that is irrelevant to the issues in this

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                                   case. If this Request seeks documents beyond the scope of
                                   what Defendants will produce, Defendants incorporate and
                                   stand on their objections above, and will not produce
                                   documents responsive to this request absent aCourt order.
   Request No. 13: All expert      Objection: Defendants object to this request on the basis of
   reports served in any of the    relevance, as the content of the expert reports in the
   Underlying Actions.             Underlying Actions address subjects irrelevant to the issues
                                   in this case. Defendants also object to this request to the
                                   extent the requested responses contain confidential and/or
                                   proprietary business information that can only be disclosed
                                   pursuant to amutually agreeable protective order from this
                                   Court, permission from the appropriate underlying
                                   court/parties, and with appropriate redactions to protect
                                   commercially sensitive information that is irrelevant to the
                                   issues in this case. Responsive documents, to the extent they
                                   are in Defendants' possession, are also subject to joint
                                   defense agreements. Defendants further object to this
                                   request as vague, as it is unclear whether Continental is
                                   requesting expert reports served by Defendants,
                                   Defendants' partners, or the underlying claimants.

                                   Response: Defendants incorporate and stand on their
                                   objections above, and will not produce documents
                                   responsive to this request absent aCourt order.
   Request No. 14: All mediation   Objection: Defendants object to this request, as it is overly
   statements in any of the        broad, unduly burdensome, seeks information that is
   Underlying Actions.             irrelevant to the issues in this case, and is disproportional to
                                   the needs of this case. Defendants also object to this
                                   request, as it seeks documents that are protected by the
                                   mediation privilege and otherwise constitute confidential
                                   and privileged settlement communications. Responsive
                                   documents, to the extent they are in Defendants' possession,
                                   are also subject to joint defense agreements. The
                                   Defendants further object that the documents are irrelevant
                                   to the issues in this case, as none of the Underlying Actions
                                   were resolved through mediation, and what occurred during
                                   those sessions has no bearing on the amounts sought from
                                   Continental in this litigation.

                                   Response: Defendants incorporate and stand on their
                                   objections above, and will not produce documents
                                   responsive to this request absent aCourt order.
   Request No. 15: All documents   Objection: Defendants object to this request, as it seeks
   referring to or reflecting      documents that are protected by the mediation privilege and
   settlement communications in    otherwise constitute confidential and privileged settlement
   the Underlying Actions,         communications. Defendants also object to this request to

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   including communications with    the extent it encompasses communications between the
   any adverse party and/or any     Defendants, their partners, and/or their attorneys, as these
   mediator.                        communications are protected by the attorney-client
                                    privilege, work product doctrine, and joint defense
                                    privilege. Responsive documents, to the extent they are in
                                    Defendants' possession, are also subject to joint defense
                                    agreements. Further, the request seeks irrelevant documents
                                    in that it encompasses settlement communications that
                                    never produced aresolution of the Underlying Actions and
                                    therefore have no bearing on this litigation.

                                    Response: Defendants incorporate and stand on their
                                    objections above, and will not produce documents
                                    responsive to this request absent aCourt order.
   Request No. 16: All documents    Objection: Defendants object to this request, as it seeks
   relating to any settlement or    documents that are protected by the attorney-client
   potential settlement of any of   privilege, work product doctrine, and/or joint defense
   the Underlying Actions.          privilege, documents that are protected by the mediation
                                    privilege and otherwise constitute confidential and
                                    privileged settlement communications, and documents that
                                    are irrelevant to the issues in this case. This request seeks
                                    documents protected by the attorney-client privilege, work
                                    product doctrine, and joint defense privilege because it
                                    encompasses
                                    communications between Defendants, their partners, and/or
                                    their attorneys, as well as materials that were created in
                                    preparation for litigation. This request also seeks documents
                                    protected by the mediation privilege and confidential and
                                    privileged documents that constitute or relate to protected
                                    settlement communications. Further, the request seeks
                                    irrelevant documents in that it encompasses settlement
                                    efforts that never produced aresolution of the Underlying
                                    Actions and therefore have no bearing on this litigation.

                                    Response: Defendants will produce copies of the settlement
                                    agreements that have resolved certain of the Underlying
                                    Actions pursuant to appropriate terms to be agreed upon by
                                    the parties to protect the confidentiality of these agreements.
                                    Defendants otherwise incorporate and stand on their
                                    objections above, and will not produce documents
                                    responsive to this request absent aCourt order.
   Request No. 17: All documents    Objection: Defendants object to this request, as it is overly
   relating to communications       broad and unduly burdensome, seeks irrelevant information,
   with any insurer, insurance      is disproportional to the needs of this case, and seeks
   agent, broker, consultant, or    information protected by the attorney-client privilege and
   advisor concerning any of the    work product doctrine. The request is overbroad,

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   Policies and/or any of the       burdensome, and disproportional to the extent it seeks
   Underlying Actions.              communications between Defendants and Continental, as
                                    such communications are already in Continental's
                                    possession. The request seeks irrelevant information to the
                                    extent it seeks communications between Defendants and
                                    any other insurer, which has no bearing on whether
                                    Continental owes coverage under the terms of the Policies
                                    in dispute. Further, the request seeks documents protected
                                    by the attorney-client and/or work product doctrine to the
                                    extent it seeks communications between Defendants and
                                    their "advisors" and "consultants," which includes their
                                    attorneys. Defendants also incorporate their objections from
                                    Interrogatory No. 3addressing substantively similar
                                    information.

                                    Response: Consistent with Categories 18, 19, and 21 of
                                    Exhibit "B" of the Defendants' Initial Disclosures,
                                    Defendants will reasonably search for and produce (1)
                                    correspondence between Defendants and their brokers
                                    regarding the marketing agreements and/or the indemnity
                                    demands, (2) the Defendants' claims for insurance
                                    coverage, and (3) procurement of the insurance policies at
                                    issue. The Defendants do not have any responsive
                                    communications between Defendants and any non-attorney
                                    "advisors" or "consultants." As to any other
                                    communications contemplated by this interrogatory,
                                    Defendants incorporate and stand on their objections above,
                                    and will not produce documents responsive to this request
                                    absent aCourt order.
   Request No. 18: All documents    Objection: Defendants object to this request as unduly
   relating to the negotiation or   burdensome, overly broad, and disproportional to the needs
   procurement of any of the        of this case to the extent it asks Defendants to produce
   Policies.                        documents that are already in Continental's possession.
                                    Defendants also object to this request to the extent it seeks
                                    documents protected by the attorney-client privilege.
                                    Defendants further object to this request as overly broad and
                                    vague, as it potentially encompasses asubstantial and
                                    unclear scope of documents "relating to" negotiation and
                                    procurement.

                                    Response: Defendants will conduct areasonable search for
                                    and produce any nonprivileged correspondence between
                                    Defendants and their broker(s) regarding the negotiation
                                    and procurement of the Policies. If this Request seeks
                                    documents beyond the scope of what Defendants will
                                    produce, Defendants incorporate and stand on their

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                                       objections above, and will not produce documents
                                       responsive to this request absent aCourt order.

         C.      Conclusion

         Pursuant to Paragraph 23 of the Court's Initial Pre-Trial Order, on November 19, 2021,

  the parties will file aJoint Statement in chart format detailing and itemizing the specific

  discovery disputes at issue in this Notice of Objection.




  November 5, 2021                              Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

         The undersigned hereby certifies that, on this 5th day of November, Ielectronically filed

  this Notice of Objection with the Clerk of Court using the CM/ECF filing system, which will

  automatically send email notification of such filing to the following counsel of record via the

  Court's CM/ECF filing system:

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